                                   Exhibit 6B
                   Excerpts of Deposition of Kevyn D. Orr




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 1 grounds of the privilege.                                    1 speculation.
 2 A. Here again, there are objections in the case that make    2 A. Yeah, here again, I mean if that happened, possibly,
 3 some of those arguments, but I will not specifically         3 but that's a speculative question, so I'm going stay
 4 answer.                                                      4 away from it.
 5 Q. Because of the privilege.                                 5    BY MR. HACKNEY:
 6 A. Because of the attorney-client privilege and it calls     6 Q. It is speculation, but it's logical --
 7 for a legal conclusion.                                      7 A. As I said in my answer, a rational person would make
 8 Q. And if I ask you who had the better side of the           8 that --
 9 argument, you would say the same thing?                      9 Q. Yeah.
10 A. Same thing.                                              10 A. If you were put in a corner, you'd have to find some
11    MR. SHUMAKER: Same objection, same                       11 way out, and negotiation might be one of those
12 instruction.                                                12 sources, but to the extent your question is also
13 A. I would say the same thing. I would say the same         13 speculation, I'm going to defer from answering.
14 thing.                                                      14 Q. Do you agree that the insurers are entitled to control
15    BY MR. HACKNEY:                                          15 all of the actions of the Swap counterparties; it
16 Q. Do you agree that the insurers can control all actions   16 raises the risk that the deal negotiated in the
17 of the Swap counterparties in connection with the           17 forbearance agreement may be for naught?
18 Swaps, that this would be important in terms of             18    MR. SHUMAKER: Objection, calls for
19 assessing whether the City should negotiate with the        19 speculation.
20 insurers?                                                   20 A. Yeah, here again, maybe not.
21    MR. SHUMAKER: Objection, foundation, calls               21    BY MR. HACKNEY:
22 for a legal conclusion.                                     22 Q. Those are things you haven't -- you haven't considered
23    You can answer to the extent you have an                 23 prior to today, fair statement?
24 understanding.                                              24 A. That's a fair statement.
25 A. It's also a little speculative because it's a            25 Q. Okay. Have you ever heard the phrase "play both ends


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 1 hypothetical. If then is usually a hypothetical, so I        1 against the middle"?
 2 would -- for the same reasons as we discussed before,        2 A. Oh, have I ever heard the phrase?
 3 I would say that to the extent it calls for a legal          3 Q. Yes.
 4 conclusion, I'll refuse to answer.                           4 A. Yes.
 5    I would say as a rational person, if you                  5 Q. You're a bankruptcy lawyer, right?
 6 were put in a corner, then you might want to consider        6 A. Yes.
 7 your alternatives, including negotiations.                   7 Q. You were, I should say.
 8    BY MR. HACKNEY:                                           8 A. I was.
 9 Q. With the insurers?                                        9 Q. And that's one of the time-honored tricks of
10 A. With whoever, yes, whoever's --                          10 bankruptcy negotiation, right, is to play parties off
11 Q. I mean it's just a simple point. We have five minutes    11 against one another to try and get the best deal?
12 left. I'm going to milk them.                               12 A. I'm not going to call it a trick.
13 A. Okay.                                                    13 Q. Tools.
14 Q. But it's a simple point, which is if the insurers can    14 A. Tools, tactics. You know, there -- lawyer, as a
15 potentially direct, like a marionette, the actions of       15 negotiator, getting a yes, discussing a number of
16 the Swap counterparties, and I understand --                16 different alternatives.
17 A. Right.                                                   17 Q. And one of them is playing off both ends against the
18 Q. -- that you're not agreeing with that --                 18 middle?
19 A. Right.                                                   19 A. Could be. People do that all -- outside of legal
20 Q. -- okay, but if they can --                              20 issues, they do that in negotiation.
21 A. Um-hm.                                                   21 Q. Isn't it true that prior to July 17 the City never
22 Q. -- they're a potential party that you can go negotiate   22 engaged in substantive negotiations with Syncora?
23 with to play off against the Swap counterparties,           23 A. I don't know if that's true. You said July 17th?
24 correct?                                                    24 Q. Yeah. That's the date of the execution of the
25    MR. SHUMAKER: Objection, calls for                       25 forbearance agreement.


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 1 A. Right. I don't know if that's true. I believe there       1 July 17th, correct?
 2 were discussions that may have been, but you                 2 A. I believe -- July 17th?
 3 characterize it as substantive negotiations, so I            3 Q. (Nods head).
 4 don't know if that's true.                                   4 A. I believe that's true. As I said, I think there was
 5 Q. You certainly didn't participate in any substantive       5 some discussion about a potential offer from Syncora,
 6 negotiations with Syncora, correct?                          6 but I believe that got caught up in the NDA issue and
 7 A. Well, I -- you know, you say negotiations. I know         7 that went away, so yes, I believe that's true.
 8 there were a series of letters going back and forth          8 Q. And your recollection in the NDA issue is that the
 9 and I know that there was a letter -- I just don't           9 City wanted an NDA, but Syncora wouldn't sign it?
10 recall when I sent it -- to Mr. LeBlanc that said if        10 A. My recollection -- no. My recollection was the City
11 you want to have serious negotiations, then let's have      11 needed an NDA because we were asking all parties --
12 a discussion, but let's stop sending these letters          12 nondisclosure agreement, we were asking all parties to
13 back and forth.                                             13 sign them. There was some discussion -- I put in a
14 Q. But isn't it your position that there were no serious    14 letter, I seem to recall, that Syncora sign one, but I
15 negotiations with Syncora because Syncora would not         15 don't want to speculate or mischaracterize. There
16 make a proposal?                                            16 were some discussion about a NDA before Syncora would
17 A. I believe in one of those letters I expressed that       17 show us their proposal and something about they wanted
18 concern, yes.                                               18 to see the Swap counterparties' proposal before
19 Q. And to your knowledge Syncora never made a proposal to   19 signing an NDA first or something along those lines.
20 the City of Detroit prior to July 17th, correct?            20 Q. You're not aware of any situation where the City
21 A. Yeah, I believe there was a discussion -- well, there    21 refused to sign an NDA with Syncora, correct?
22 was discussion about an exchange of NDAs, and Syncora       22 A. No, not that I'm aware of.
23 said they wanted to make a proposal, but they first         23 Q. In fact, it was the City that wanted an NDA with
24 wanted to see the proposal from the Swap                    24 Syncora?
25 counterparties, and I believe in one of my letters to       25 A. Yes. I believe that's true.


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 1 Mr. LeBlanc, I said well, the parties need to sign a         1 Q. And it's also true that you did not engage in
 2 NDA, and my understanding was Syncora declined to do         2 substantive negotiations with FGIC about an
 3 that.                                                        3 alternative to the forbearance agreement prior to
 4    MR. HACKNEY: Let's actually take a break                  4 July 17th, correct?
 5 right now in light of the videotape and maybe we can         5 A. Yeah, with regard to the issue of substantive, I'll --
 6 use it as a chance to stretch our legs and use the           6 I'll, you know, caution that I'm not -- I'm not
 7 restroom.                                                    7 necessarily characterizing, but to the best of my
 8    VIDEO TECHNICIAN: The time is 10:04 a.m.                  8 knowledge, that's a fair characterization.
 9 This marks the end of tape number 1. We are off the          9 Q. You didn't make a proposal about an alternative to
10 record.                                                     10 FIGC and FIGC didn't make one to you.
11    (Recess taken at 10:04 a.m.)                             11 A. Yes, to the best of my knowledge, that's true.
12    (Back on the record at 10:14 a.m.)                       12 Q. And that's also true with respect to Syncora, correct?
13    VIDEO TECHNICIAN: We are back on the                     13 A. Yes, that's true.
14 record at 10:14 a.m. This marks the beginning of tape       14 Q. Now, I think you've testified previously that no
15 number 2.                                                   15 proposal was forthcoming from Syncora in connection
16    BY MR. HACKNEY:                                          16 with the TRO proceedings.
17 Q. Mr. Orr, I kind of want to cut through this with         17 A. Okay.
18 Syncora. I understand that there were letters back          18 Q. I'll just represent that to you --
19 and forth between you and Syncora.                          19 A. Okay.
20 A. Yes.                                                     20 Q. -- as a way of --
21 Q. But I just want to make clear for the record that        21 A. Yeah. In one of my affidavits --
22 there were not substantive negotiations of the type         22 Q. That's right.
23 that you engaged in with the Swap counterparties with       23 A. -- or something, yeah.
24 Syncora about an alternative proposal to the                24 Q. Were you aware that Mr. Buckfire had had a
25 forbearance agreement prior to its execution on             25 conversation with Todd Snyder of Syncora?


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 1 A. As I said, there were -- you know, during this --        1 Q. We can say that there are lots.
 2 there were many conversations that were going back and      2 A. There are lots.
 3 forth and I wasn't necessarily aware of all of them.        3 Q. Okay.
 4 I knew they were -- they were going back and forth,         4 A. Okay.
 5 but it is -- if that's true, it wouldn't surprise me.       5 Q. And there's no reason you can think of today that the
 6 Q. So you don't remember it as you sit here today?          6 City wouldn't enter into one with Syncora.
 7 A. No, I do not.                                            7 A. No.
 8 Q. Okay. Because this was in the -- this was in the         8 Q. Were you aware that Syncora wanted a nondisclosure
 9 period of where the cash was being trapped.                 9 agreement so that it could make a proposal that would
10 A. Right. But, sir, here again, there were so many -- so   10 be an alternative to the Swap counterparties?
11 many discussions going back and forth about so many        11 A. As I said, I believe I have a letter that discusses
12 things. I mean in this period we were dealing with         12 the NDA issue, but it was caught up in something
13 the June 10th meeting, the June 14th creditor's            13 related to Syncora -- as I understood it, Syncora
14 presentation, trying to do the Swap settlement, the        14 wanting to see the Swap counterparty proposal first
15 run up to my quarterly report. There were just --          15 prior to entering an NDA.
16 there were a lot of conversations about a lot of           16 Q. Did you ever hear that Syncora had gotten over that
17 things. I simply don't remember.                           17 issue and was now willing to just make a proposal to
18 Q. Okay. And I take it you don't recall that Mr. --        18 the City?
19 whether Mr. Buckfire told you that Syncora had             19 A. No.
20 described to him the general structure of a proposal       20 Q. So no one ever told you that?
21 it wanted to make?                                         21 A. No, I don't recall ever hearing that.
22 A. He may have. I just don't recall it.                    22 Q. Okay. Would that have been significant to you if you
23 Q. Okay. It's true, isn't it, that as of the date of the   23 heard that?
24 execution of the forbearance agreement, your office        24    MR. SHUMAKER: Objection, calls for
25 had received multiple calls from Claude LeBlanc at         25 speculation.


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 1 Syncora, correct?                                           1 A. Yeah. Here again, it depends upon what point in time,
 2 A. I'm not aware of that. There may have been multiple      2 if we were already bound by the definitive term sheet
 3 calls, but I'm not aware -- I received no calls.            3 and then -- or the agreement, I believe the
 4 Q. Okay. So you don't -- I take it your secretary --        4 forbearance agreement has an obligation we cooperate
 5 A. My office may have. Yeah, my secretary may have, but     5 with Swap counterparties, so it wouldn't have mat --
 6 I didn't.                                                   6 no, it would not have mattered at that time, so it
 7 Q. So you don't know whether he called you or not?          7 depends on when that would have occurred.
 8 A. If you're representing to me that he did, I have no      8    BY MR. HACKNEY:
 9 reason to believe that that's untrue.                       9 Q. But if it was prior to July 17th, if there were any
10 Q. Okay. And I take it you have never called personally    10 parties that were out there that thought they had a
11 Mr. LeBlanc --                                             11 good deal for the City, that would have been something
12 A. No.                                                     12 you wanted to know?
13 Q. -- isn't that correct?                                  13 A. We are always willing to listen to parties that think
14 A. No, I don't think so.                                   14 they have a good deal for the City.
15 Q. So you didn't return those calls if they were made?     15 Q. Isn't it true that the City's decision to enter into
16 A. No.                                                     16 the forbearance agreement was made by you, in your
17 Q. I just want -- I guess I -- the City has entered into   17 role as emergency manager?
18 numerous nondisclosure agreements --                       18 A. Yes, after consultation with my -- with my employees,
19 A. Right.                                                  19 staff and consultants, yes.
20 Q. -- in these cases, correct?                             20 Q. And when did you make that decision?
21 A. Yes.                                                    21 A. To enter into the actual agreement?
22 Q. I mean has it entered into hundreds?                    22 Q. Yes.
23 A. I don't know. I don't -- I don't operate the data       23 A. The day I signed it.
24 room or any others, but I suspect there's certainly        24 Q. July 15th, 2013?
25 many.                                                      25 A. I believe so, yes.


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 1 Q. And what advisors did you rely upon in making this        1 A. Yeah. That's a --
 2 decision?                                                    2    MR. SHUMAKER: Object to form.
 3 A. My attorneys, Mill -- my investment banker, Miller        3 A. That's a fair characterization. As I said, I'm trying
 4 Buckfire; our accountants, Ernst & Young; virtually --       4 to stay away from acting as an attorney in this job.
 5 virtually -- Conway McKenzie, our operational advisor,       5    BY MR. HACKNEY:
 6 virtually all of them.                                       6 Q. Okay.
 7 Q. All of your third party advisors?                         7 A. For a number of reasons.
 8 A. Yes, yes.                                                 8 Q. So you relied on your advisors to explain to you how
 9 Q. And anyone else that you relied upon in making the        9 the COP Swap agreements worked?
10 decision?                                                   10 A. Yes.
11 A. Oh, probably members of my immediate staff such as my    11 Q. And you also relied on them to explain to you how the
12 senior advisor, chief of staff, but less so. More of        12 COP Swap agreements worked in conjunction with the
13 my outside third party advisors.                            13 forbearance agreement that you were about to execute?
14 Q. What documents did you rely upon in making the           14    MR. JURGENS: Object to form.
15 decision, if any?                                           15 A. Yes.
16 A. We looked at a number of -- the term sheet, the actual   16    BY MR. HACKNEY:
17 draft of the forbearance agreement. There may have          17 Q. So what is the relationship between the forbearance
18 been some e-mails. I just recall a lot of telephone         18 agreement and the COPs Swap structure?
19 calls. There may have been some forecast, cash              19 A. Well, my understanding is that the forbearance
20 forecast, and actuals, and some of the public reports       20 agreement is related to the Swaps structure, but that
21 I had issued regarding our cash position.                   21 the COPs structure is unrelated.
22 Q. Any other documents you can remember considering as      22 Q. Okay. So the forbearance agreement is part of the
23 part of this decision to enter into the forbearance         23 same subject matter as the collateral agreement and
24 agreement?                                                  24 the Swaps agreement, but not the COPs part of the
25 A. There may have been correspondence. As I said, there     25 structure?


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 1 were letters that were exchanged between Mr. LeBlanc         1 A. That's my understanding.
 2 and myself, and others, the letter you showed me             2 Q. Okay. In your legal career, have you come across the
 3 today. I'm just trying to capture the universe of            3 concept of the idea that two different contracts can
 4 what would have been included, but any -- any and all        4 be part of one integrated transaction?
 5 documents related to this that I would have seen would       5 A. Sure. Yes.
 6 probably fall under that characterization.                   6 Q. You're familiar with that as an idea?
 7 Q. Any legal memoranda from Jones Day that you considered    7 A. Oh, yeah, sure.
 8 in making this decision?                                     8 Q. Okay. What do you understand that to mean?
 9 A. Yes, probably.                                            9    MR. SHUMAKER: Objection, form.
10 Q. Okay. Written legal memoranda that you reviewed?         10 A. There are a number of ways that two different
11 A. Yeah, including e-mails. Yeah.                           11 documents were -- may refer to the other, as simple as
12 Q. Now, did you take time to familiarize -- to              12 attachments, exhibits, the master -- the master
13 familiarize yourself with any of the legal documents        13 service agreement on a loan, for instance. There are
14 relating to the COPs Swap structure in connection with      14 a number of ways that one document can relate to
15 your decision to execute the forbearance agreement?         15 another as explicitly expressed and intended.
16 A. I relied -- I may have seen them, but I relied upon      16    BY MR. HACKNEY:
17 consultation with my counsel and investment bankers.        17 Q. Yeah, and I know this is a -- you know, we're not
18 Q. The documents I'm referring to are -- can we agree       18 talking about was the stoplight red or green here, but
19 they're relatively complicated legal documents?             19 you are also a lawyer with a relatively --
20 A. Yeah, I'd say they're not simple documents. It's not     20 A. I was.
21 a -- you know, an auto purchase contract, yeah.             21 Q. -- sophisticated clientele and experience?
22 Q. Right. So can I fairly characterize that -- that you     22 A. Well --
23 may have looked at the documents, but you didn't            23 Q. You understand the idea that two different contracts
24 attempt to master -- master them in terms of their          24 can form part of one larger agreement?
25 legal ins and outs?                                         25 A. Oh, sure. Yeah.


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